              Case 5:24-cv-01153-PSG-MRW                              Document 1-1                 Filed 05/31/24             Page 1 of 3 Page ID
                                                                            #:6
                                           UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                 CIVIL COVER SHEET
    I. (a) PLAINTIFFS ( Check box if you are representing yourself        D)            DEFENDANTS             ( Check box if you are representing yourself    D)
                                                                                                      -(�i'\\O
    (b) County of Residence of First Listed Plaintiff                                   County of Residence of First Listed Defendant
                                                               -3-''----',,�'----"---

    (EXCEPT IN U.S. PLAINTIFF CASES)                                                    (IN U.S. PLAINTIFF CASES ONLY)
    (c) Attorneys (Firm Name, Address and Telephone Number) If you are Attorneys (Firm Name, Address and Telephone Number) If you are


                                                                                                                                                              �* ·
    representing yourself, provide the same information.�� �r\; (Q_ representing yourself, provide the same information.
                     G�J'Q"0'c.. � �l.£ �-ed                                                                 � \ � �-,� 3St I s\
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C,,,i.o. I °td1.Dl
                                                                                                                  �Pt-fu 'i-         ��r.u E.                �-pc.h��
II. BASIS OF JURISDICTION (Place an X in one box only.)                        Ill. CITIZENSHIP OF PRINCIPAL PART1IES- or Diversity Cases Only C5a-\l b
                                                                                     (Place an X in one box for plaintiff and one for defendant)
                                                                                                                                                            PTF    •'2¥
    D 1. U.S. Government               D 3. Federal Question (U.S.             Citizen ofThis State    ,J;l/ 1 D
                                                                                                       , '::/
                                                                                                                  E
                                                                                                                 DF 1 Incorporated    or Principal Place
                                                                                                                         ofBusiness in this State
                                                                                                                                                             D 4 �4
                                                                                                                                                             D 5 (M' 5
        Plaintiff                         Government Not a Party)
                                                                               Citizen of Another State D 2 D 2 Incorporated and Principal Place
                                                                                                                         ofBusiness in Another State
    D 2. U.S. Government               D 4. Diversity (Indicate Citizenship    Citizen or Subject of a                   Foreign Nation                      06�
        Defendant                         of Parties in Item Ill)              Foreign Country

IV. ORIGIN (Place an X in one box only.)
                              Removed from D 3. Remanded from D 4. Reinstated or D 5. Transferred from Another D Litigation -
                                                                                                                6_ Multidistrict
         1. Original
            Proceeding
                         D 2. State Court       Appellate Court    Reopened           District (Specify)           Transfer
                                                                                                                                 D 8. Litigation
                                                                                                                                      Multidistrict
                                                                                                                                      Direct File
                                                                                                                                                 -


V. REQUESTED IN COMPLAINT: JURY DEMAND:                                Yes    D No        (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23:              Yes   0   No     O                    □
                                                                                  MONEY DEMANDED 1N coMPLAINT:                          s • � oDo              D     ob
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless iversity.)


VII. NATURE OF SUIT (Place an X in one box only)::-
I        OTHER STATUTES                CONTRACT           REAL PROPERTY CONT.           IMMIGRATION             PRISONER PETITIONS             PROPERTY RIGHTS
                                                                                                                                                                          I
    □   375 False Claims Act      □ 110 Insurance        □ 240 Torts toLand □ Application
                                                                                 462 Naturalization      Habeas Corpus:
                                                                                                      D 463 Alien Detainee
                                                                                                                              �820 Copyrights

    0 376QuiTam                   □ 120 Marine           □ Liability
                                                           245 Tort  Product
                                                                                                        510 Motions to Vacate D 830 Patent
                                                                                                      D Sentence
      (31 USC 3729(a))
                               0 130 Miller Act          □ Property            □ 465 Other
                                                                                                                              D New
                                                                                                                                835 Patent - Abbreviated
    □ 400
                                                           290 All  Other Real   Immigration  Actions
           State                                                                                      D 530 General                  Drug Application
      Reapportionment
    □ 410 Antitrust            □ 140  Negotiable
                                  Instrument                 TORTS
                                                                                     TORTS
                                                                              PERSONAL PROPERTY D 535 Death Penalty               D 840Trademark
                                  1SO Recovery of      PERSONAL
    □ 430 Banks andBanking □ Overpayment & □ 310 Airplane
                                                                   INJURY
                                                                              □  370 Other  Fraud
                                                                                                      □
                                                                                                             Other:
                                                                                                        540 Mandamus/Other □ of 2016 (DTSA)
                                                                                                                                    880 Defend Trade Secrets Act

    □ 450  Commerce/ICC           Enforcement of
                                                     □                        □  371 Truth in Lending
                                                                                 380 Other Personal □ 550 Civil Rights                                           I
                                                        315 Airplane                                                                   SOCIAL SECURITY
      Rates/Etc.                  Judgment
    □ 460 Deportation          □  151 Medicare Act
                                                        ProductLiability
                                                     □ Slander
                                                        320 Assault, Libel &  □  Property Damage
                                                                                                      □ 555  Prison  Condition    0 861 HIA (1395ft)
    □ 470   Racketeer lnflu-
                                                        330 Fed. Employers' □ ProductLiability
                                                                                385 Property Damage                               D 862BlackLung (923)
                               □
                                  152 Recovery of
                                                                                                      □
      enced & Corrupt Org.                                                                              560 Civil Detainee
    □ 485 Telephone
      480  Consumer   Credit      Defaulted Student     Liability                                       Conditions   of           0 863 DIWC/DIWW (405 (g))

    □ Consumer Protection Act 153 Recovery of □ 345 Marine Product □ USC
                                  Loan (Exel. Vet.)                               BANKRUPTCY            Confinement
                                                        340 Marine
                                                                                 422 Appeal 28         FORFEITURE/PENALTY         0 864 SSID Title XVI

    □ 490 Cable/Sat TV D Overpayment              of    Liability
                                                                                      158               625 Drug Related
                                                                                                      D Seizure of Property 21
                                                                                                                                  0 865 RSI (405 (g))
                                       Stockholders' □ 350 Motor Vehicle
                                  Vet.Benefits                                   423 Withdrawal 28
    □ modities/Exchange □ 160
      850 Securities/Com-                                                        USC 157
                                                                                                      D
                                                                                                        USC   881                     FEDERAL TAX SUITS          I
       890 Other Statutory         Suits
                                                     □ Product Liability
                                                         355 Motor Vehicle        CIVIL RIGHTS           690  Other
                                                                                                                                  □ Defendant)
                                                                                                                                    870 Taxes (U.S. Plaintiff or

                               □                        360 Other Personal □ 440 Other Civil Rights
       Actions                                                                                                 LABOR
    □ 891 Agricultural Acts 195
                                  190 Other
                                  Contract           □ Injury                 □  441 Voting           D 710  Fair Labor Standards □ 7609
                                                                                                                                    871 IRS-Third Party 26 USC

                                                     □ Med
                                                                                                        Act
    □ Matters
      893 Environmental        □ Product
                                       Contract
                                           Liability
                                                        362 Personal Injury-
                                                              Malpratice      □ 443
                                                                                442 Employment        D 720  Labor/Mgmt.

                                                     □ Product Liability □ Accommodations D 740 Railway Labor Act
                                                                                     Housing/           Relations
    □ Act
      895 Freedom of Info.     D 196 Franchise          365  Personal Injury-
                                 REAL PROPERTY                                  445 American with
    D 896 Arbitration
                                                                                                      □ Leave
                                                        367 Health Care/
                                                                              D Disabilities-
                               D  210Land
                                                     □ Personal Injury
                                                        Pharmaceutical
                                                                                                        751 Family and Medical
                                                                                                               Act
                                                                              □
      899 Admin. Procedures       Condemnation                                  Employment
    D Act/Review of Appeal of D 220 Foreclosure         Product Liability       446 American with
                                                                                                      □ Litigation
                                                                                                        790 OtherLabor

      950 Constitutionality of D 230 RentLease & □ Personal Injury
      Agency Decision                                   368 Asbestos            Disabilities-Other
    □ State Statutes                                                          D  448 Education        □ Security
                                                                                                         791 Employee Ret. Inc.


                                                         E D C V 2 4 -0 1 1 5 3 �PsC2-m�\�'f-
                                  Ejectment             Product Liabilitv                                          Act
                                          CaseNumber:
    FOR OFFICE USE ONLY:
    CV-71 (10/20)                                                             CIVIL COVER SHEET                                                            Page 1 of 3
          Case 5:24-cv-01153-PSG-MRW                                        Document 1-1              Filed 05/31/24                  Page 2 of 3 Page ID
                                                                                  #:7
                                           UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                                                 CIVIL COVER SHEET


VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Courts General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?                                                 STATE CASE WAS PENDING IN THE COUNTY OF:                                    INITIAL DIVISION IN CACD I5:
               Yes    No
                                                   Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                               Western
If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the         ❑ Orange                                                                                                Southern
corresponding division in response to
Question E, below,and continue from there. ❑ Riverside or San Bernardino                                                                                  Eastern



QUESTION B: Is the United States, or 6.7. Do 50% or more of the defendants who reside in                      YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees,a   the district reside in Orange Co.?                                     ~ Enter "Southern" in response to Question E, below,and continue
PLAINTIFF in this action?                                                                                     from there.
                                     check one ofthe boxes to the right ~~
                Ye~ No
                                                                                                                  NO. Continue to Question 6.2.

                                                 B.2. Do 50% or more of the defendants who reside in              YES. Your case will initially be assigned to the Eastern Division.
If "no," skip to Question C. If "yes;' answer    the district reside in Riverside and/or San Bernardino           Enter "Eastern" in response to Question E, below,and continue
Question 6.1, at right.                          Counties? (Consider the two counties together.)                  from there.

                                                 check one of the boxes fo the right   ~                          NO. Your case will initially be assigned to the Western Division.
                                                                                                                  Enter "Western" in response to Question E, below,and continue
                                                                                                                  from there.


QUESTION C: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees,a   district reside in Orange Co.?                          ~ Enter "Southern" in response to Question E, below,and continue
DEFENDANT in this att' n?                                                                      from there.
                                     check one of the boxes to the right  ~~
                 Y        No
                                                                                                O. Continue to Question C.2.

                                                 C.2. Do 50% or more of the plaintiffs who reside in th           YES. Your case will initially be assigned to the Eastern Division.
If "no," skip to Question D. If"yes," answer     district reside in Riverside and/or San Bernardino               Enter "Eastern" in response to Question E, below,and continue
Question C.1, at right.                          Counties? (Consider the two counties together.)                  from there.

                                                 check one of the boxes to the right   ~                          NO. Your case will initially be assigned to the Western Division.
                                                                                                                  Enter "Western" in response to Question E, below, and continue
                                                                                                                  from there.
                                                                                                             A.                         B.                             C.
                                                                                                                                 Riverside or San            Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?
                                                                                                    Orange County               Bernardino County            Santa Barbara, or San
                                                                                                                                                              Luis Obispo County

I ndicate the locations) in which 50% or more of plaintiffs who reside in this disTrict
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
I ndicate the locations) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none ofthese choices
a pply.)

                 D.1. Is there at least o       answer in Column A?                                         D.2. Is there at least on           wer in Column B?
                                        Yes~ No                                                                               ~ Yes ~ No

                    If "yes," your case will initially be assigned to the                                      If "yes," your case will initially be assigned to the
                                SOUTHERN DIVISION.                                                                            EASTERN DIVISION.

     Enter "Southern" in response to Question E, below,and continue from there.                                Enter "Eastern" in response to Question E, below.
                          If "no," go to question D2 to the right.          ~♦                            If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                              Enter "Western" in response to Question E, below.              1,


QUESTION E: Initial Division?                                                                                             INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above: ~~                             ~~                 1(~~                             ~~

QUESTION F: Northern Counties?

Do 50%or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                             ~ Yes             No

 CV-71 (10/20)                                                                    CIVIL COVER SHEET                                                               Pa~+e 2 of 3
          Case 5:24-cv-01153-PSG-MRW                                    Document 1-1                   Filed 05/31/24                Page 3 of 3 Page ID
                                                                              #:8
                                           UNITED STATES DISTRICT COURT,CENTRAL DISTRICT OF CALIFORNIA
                                                                            CIVIL COVER SHEET


IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                               ~ NO                    ~ YES

         If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below)to any civil or criminal cases) previously filed in this c
                                                                                                                                                      O            ~ YES

        If yes, list case number(s):


        Civil cases are related when they(check all that apply):

                    A. Arise from the same or a closely related transaction, happening, or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

        Note: That cases may involve the same patent,trademark, or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening,or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                    labor if heard by differentjudges.


X. SIGNATURE OF ATTORNEY
(ORSELF-REPRESENTED LITIGANT):                                1r1                                                                  DATE:

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required bylaw, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet(CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code        Abbreviation                   Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits(Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                        HIA             include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                  (42 U.S.C. 1935FF(b))

        862                        BL              All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.(30 U.S.C.
                                                   923)

                                   DIWC            All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
        863                                        all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

                                   p~yyW           All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act,as
        863                                        a mended.(42 U.S.C.405 (g))


                                   SSID            All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
        864                                        a mended.

        865                        R51             All claims for retirement (old age)and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                  (42 U.S.C. 405(g))




CV-71 (10!20)                                                                  CIVIL COVER SHEET                                                                   Page 3 of 3
